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                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


IN RE:         MONTY KIRK WILSON AND                                  CASE NO. 4:19-BK-11139
               LORIA LYNN WILSON A/K/A
               LORIA FRENCH,
               Debtors                                                              CHAPTER 7


NATIONSTAR MORTGAGE LLC
D/B/A MR. COOPER                                                                       MOVANT

VS.

MONTY KIRK WILSON AND
LORIA LYNN WILSON
A/K/A LORIA FRENCH, Debtors;
and JAMES F. DOWDEN, Trustee                                                    RESPONDENTS


                                                 ORDER


       Before the Court is the motion of Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper, for

relief from the automatic stay and for abandonment of the property described below from the estate,

and the Court, being fully advised, finds that there is no opposition to the motion and that the

motion should be granted. In addition, the Court finds that the 14-day stay provision provided in

Rule 4001(a)(3) shall not apply to this order.

       IT IS THEREFORE ORDERED that relief from the automatic stay is hereby granted, the

property is hereby abandoned from the bankruptcy estate, and Movant is free to pursue its state law

remedies against the following-described real property:

       ALL THAT PARCEL OF LAND IN SALINE COUNTY. STATE OF
       ARKANSAS, AS MORE FULLY DESCRIBED IN DEED BOOK 03, PAGE
       071773, ID# 122-00008-000, BEING KNOWN AND DESIGNATED AS
       FOLLOWS:

       LOT 8 OF THE MARCH 1990 REPLAT OF GLENN HILLS ESTATES, A
       SUBDIVISION TO SALINE COUNTY, ARKANSAS.


                 EOD: May 14, 2019
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       Also known as: 335 Glenn Hills Dr, Alexander, AR 72002

       The Trustee does not abandon any interest in any excess proceeds from the sale of the

property. In the event that the proceeds of any sale exceeds the amount owed, then Movant shall

remit said proceeds to the Trustee for disbursement to other creditors.

       IT IS SO ORDERED.


                                             Richard D. Taylor
                                             United States Bankruptcy Judge

                                             DATE:           May 14, 2019


APPROVED AS TO FORM:

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      Trustee
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W&A No. 337517
Loan No. XXXXXX2490




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